EXHIBIT "B"
                                         February 24, 2023

Via Email: pacallahan@burnswhite.com;
wjmundy@burnswhite.com
Peter A. Callahan, Esquire
William J. Mundy, Esquire
BURNS WHITE LLC
1001 Conshohocken State Road, Suite
1-515 West Conshohocken, PA 19428

       Re:      Webb vs. Platinum Health at Westgate, LLC d/b/a Westgate Hills Rehabilitation
                and Nursing Center, Vintage Healthcare, PHWH Holdings and Prestige Healthcare
                et al.
                United States District Court for the Eastern District of Pennsylvania
                Civil Case No. 22-2939-KSM

Dear Counsel,

    A review of my file indicates that I have not yet received Defendants’ responses to Plaintiff’s
Interrogatories (Set I), and Requests for Production of Documents (Set I and II) forwarded in the
above matter on January 4, 2023.

    Please provide Defendants’ verified responses to same within ten (10) days of the date of this
letter so that we may avoid motion practice on this issue.

   Thank you for your attention to the above.

                                                Sincerely,
                                                MURRAY, STONE & WILSON, PLLC

                                                /s/ Matthew T. Stone
                                               Matthew T. Stone, Esquire
                                               mstone@mswlawgroup.com


  MTS/jh
  cc:    Jonathan D. Levitan, Esquire (via email: Jonathan@jdlevitanlaw.com)
